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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

                                                           HON.PATRICK J.DUGGAN
                                                           CASE NO.08-20309-1
    UNITED STATES OF AMERICA,

    -V-

    RICARDO VARGAS,

                        Defendant(s).
                                           /

                        ORDER DENYING MOTION FOR SEVERANCE

                        At a session of said Court, held in the U.S.
                          District Courthouse, Eastern District
                          of Michigan, on September 23, 2008.


          This matter is before the Court on Defendant ’s Motion for Severance and Separate

    Trial. For the reasons stated on the record on September 23, 2008;

          IT IS ORDERED that the Motion for Severance and Separate trial be and the same

    is hereby DENIED.



                               s/Patrick J. Duggan
                               Patrick J. Duggan
                               United States District Judge

    Dated: September 23, 2008

    I hereby certify that a copy of the foregoing document was served upon counsel of record
    on September 23, 2008, by electronic and/or ordinary mail.

                               s/Marilyn Orem
                               Case Manager
